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                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                      EUGENE DIVISION

UNITED STATES OF AMERICA,                                 6:20-cv-01863-BR

        Plaintiff,

        v.                                                COMPLAINT, in rem,
                                                          FOR FORFEITURE
$36,858.50 U.S. CURRENCY and
ASSORTED PRECIOUS METALS IN
GOLD AND SILVER BARS, in rem,
        Defendants.

        Plaintiff, United States of America, by Billy J. Williams, United States Attorney for the

District of Oregon, and Judith Harper, Assistant United States Attorney, for its complaint in rem

for forfeiture, alleges:

                                                 I.

        This Court has subject matter jurisdiction, in rem jurisdiction, and venue pursuant to

21 U.S.C. § 881; 28 U.S.C. §§ 1345, 1355, 1356, and 1395; and 19 U.S.C. § 1610.

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                                                  II.

       Defendants, in rem, $36,858.50 U.S. Currency, and Assorted Precious Metals in Gold

and Silver Bars were seized in the District of Oregon, and are now and during the pendency of

this action will be within the jurisdiction of this Court.

                                                  III.

       Defendants, in rem, $36,858.50 U.S. Currency, and Assorted Precious Metals in Gold

and Silver Bars represent proceeds traceable to an exchange for controlled substances or were

used or intended to be used to facilitate such a transaction in violation of 21 U.S.C. § 841(a)(1),

and is forfeitable to the United States pursuant to the provisions of 21 U.S.C. § 881(a)(6), as

more particularly set forth in the declaration of Juan Sierra, Special Agent, Drug Enforcement

Administration, marked as Exhibit A, attached and fully incorporated herein by this reference.

       WHEREFORE, plaintiff, United States of America, prays that due process issue to

enforce the forfeiture of defendants, in rem, $36,858.50 U.S. Currency, and Assorted Precious

Metals in Gold and Silver Bars; that due notice be given to all interested persons to appear and

show cause why forfeiture of these defendants, in rem, should not be decreed; that due

proceedings be had thereon; that these defendants be forfeited to the United States; that the

plaintiff United States of America be awarded its costs and disbursements incurred in this action.

DATED: October 29, 2020.                       Respectfully submitted,

                                               BILLY J. WILLIAMS
                                               United States Attorney

                                               s/ Judith R. Harper
                                               JUDITH R. HARPER
                                               Assistant United States Attorney



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                                       VERIFICATION




       I, Juan Sierra, declare under penalty of perjury, pursuant to the provisions of 28 U.S.C.

Section 1746, that I am a Special Agent with the Drug Enforcement Administration and that the

foregoing Complaint in rem for Forfeiture is made on the basis of information officially

furnished and upon the basis of such information the Complaint in rem for Forfeiture is true as I

verily believe.



                                     s/Juan Sierra
                                     JUAN SIERRA
                                     Special Agent
                                     Drug Enforcement Administration




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